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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA :

Vv. : NO. 3:19-CR-9
BRUCE EVANS, SR. and BRUCE : JUDGE A. RICHARD CAPUTO
EVANS, JR., :

ORAL ARGUMENT REQUESTED

 

DEFENDANT BRUCE EVANS, SR.’S REPLY BRIEF IN SUPPORT OF
MOTION TO DISMISS THE INDICTMENT OR
MOTION FOR BILL OF PARTICULARS

 

INTRODUCTION

Counts I through IV of the Indictment fail to provide the necessary factual
orientation in accord with Federal Rule of Criminal Procedure 7(c) to allow Bruce
Evans, Sr. (“Mr. Evans”) to prepare this defense. Indeed, despite Mr. Evans’ status
as simply manager of the Greenfield Township Sewer Authority sewage plant, the
Government endeavors to charge him with an operator-like knowledge of its
discharges. Moreover, and fundamental to the jurisdiction of the Clean Water Act,
the Government also fails at Count I to allege that the pollutant discharge reached
“navigable waters of the United States.” Filled with facts not contained within the

Indictment, the Government’s brief in opposition nevertheless fails to resolve these
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deficiencies. To aid the Court, Mr. Evans offers the following short reply in
support of his Motion to Dismiss.
ARGUMENT

Federal Rule of Criminal Procedure 12(b)(3)(B)(v) authorizes a defendant to
lodge a pretrial challenge for “failure to state an offense” when the Indictment fails
to meet the standard of sufficiency set out in Rule 7(c). That Rule requires an
indictment to “be a plain, concise, and definite written statement of the essential
facts charged.” Fed. R. Crim. P. 7(c). An Indictment is sufficient under Rule 7(c)
if it: “(1) contains the elements of the offense intended to be charged, (2)
sufficiently apprises the defendant of what he must be prepared to meet, and (3)
allows the defendant to show with accuracy to what extent he may plead a former
acquittal or conviction in the event of a subsequent prosecution.” United States v.
Willis, 844 F.3d 155, 161 (3d Cir. 2016) (quoting United States v. Rankin, 870 F.2d
109, 112 (3d Cir. 1989)). Indeed, “‘[N]o greater specificity than the statutory
language is required so long as there is sufficient factual orientation’ to permit a
defendant to prepare his defense and invoke double jeopardy.” United States v.
Huet, 665 F.3d 588, 595 (3d Cir. 2012) (citations omitted).

The Indictment at Counts I through IV fails to meet even this low standard
as necessary facts supporting elements of the crimes are altogether lacking. As

noted in Mr. Evans’ opening brief, to establish a violation of Section
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1319(c)(2)(A), the Government must allege and prove beyond a reasonable doubt
that Mr. Evans knowingly (1) discharged, (2) a pollutant, (3) from a point source,
(4) into the navigable waters of the United States, (5) without a permit to do so, or
in violation of an existing NPDES permit. See United States v. Wilson, 133 F.3d
251, 264 (4th Cir. 1997); United States v. Ahmad, 101 F.3d 386, 389 (Sth Cir.
1997).

Counts I through IV of the Indictment fail to allege the above required
elements, First, Count I charges Mr. Evans with violating NPDES Permit PA
0061671, Part C, Special Condition Six by “intentionally pumping the contents of
the chlorine contact tanks, including solids and sewage sludge onto the ground and
into the grass.” See Indictment | 27 (emphasis added.). See also Indictment {| 20
(alleging that PADEP personnel observed Mr. Evans, “pumping the contents...
onto the ground and into the grass.”)(emphasis added). No mention is made
anywhere in the Indictment that any discharge to a water of the United States
occurred in connection with this alleged event.

As noted in the Indictment itself at paragraph 21, Special Condition Six, the
provision of the permit allegedly to be violated in Count I, “outlines the

requirements for the proper collection, handling and disposal of sludges and other
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solids,” that are removed from the sewage treatment plant. See Indictment 17.
Violation of Special Condition Six of this PADEP-issued permit, by its terms, does
not require a discharge into the “waters of the United States.” See footnote 1,
below. Rather, it would be based on any violation of Pennsylvania’s Solid Waste
Management rules—for example, improper disposal of sludge to the ground—as to
any solids removed from the treatment plant. The facts in Count I of the
Indictment allege only that the sludge and solids removed from treatment plant
were dumped on the ground. They do not include any allegation of a discharge to
any “waters of the United States.””

The jurisdiction of the Clean Water Act—the federal law under which this
Indictment is being pursued—is, however, limited to protection of “navigable
waters” which are defined in the Clean Water Act as “waters of the United States.”
33 U.S.C. § 1362(12); Rapanos v. United States, 547 U.S. 715, 732 (2006). The
absence of averments indicating discharge into “waters of the United States” is

therefore dispositive as to the insufficiency of the charging instrument. In its

 

. Special Condition Six provides: “SIX: Collected screenings, slurries, sludges, and other solids

shall be handled and disposed of in compliance with 25 Pa, Code, Chapter[s] 75, and in a manner
equivalent to the requirements indicated in [Pa. Code] Chapters 271, 273, 275, 283, and 285 (related to
permits and requirements for landfilling, land application, incineration, and storage of sewage sludge),
Federal Regulation 40 CFR 257, Pennsylvania Clean Streams Law, Pennsylvania Solid Waste
Management Act of 1980, and the Federal Clean Water Act and its amendments.” NPDES Permit PA
0061671, Part C, Special Conditions.

2 The events allegedly occurred in the presence of DEP personnel in April 2013. Despite this
Pennsylvania DEP never issued even a Notice of Violation to the Greenfield Township Sewer Authority

as a result.

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Opposition Brief, the Government seems to recognize the problem and never
contests that a discharge to a water of the United States associated with the

dumping of sludge on the ground would be a required element of its charge in
Count I. Gov’t Opp. Br. at pp. 5-6. Instead, the Government attempts to remedy
this fundamental deficiency in Count I by asserting facts in its Opposition brief that
are clearly not alleged anywhere in the Indictment. For example, the Opposition
Brief states: “Pumping of the sludge onto the ground which flowed into the
receiving stream violated the NPDES Permit, Part C, Special Condition Six, .. .”
See id. (emphasis added).

Moreover, the Government’s brief asserts that “PADEP personnel reported
that the untreated contents ... ultimately flowed into the discharge channel from
the headwall down to the confluence with the unnamed tributary to the Dundaff
Creek.” Id. at 5 (emphasis added). Even if these brand new and unsworn assertions
that the sludge and solids “flowed” or “ultimately flowed” to a water of the United
States could be supported—and Mr. Evans believes they could not be—the
asserted flow from the ground (as alleged in the Indictment) to a “water of the

United States” is a key factual element for any federal Clean Water Act crime to be
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made out in Count I of the Indictment. Because that allegation is not part of the
Indictment itself, Count I should be dismissed based on this failure.?

Second, in Counts I through IV, the Government charges Mr. Evans with
four violations of 33 U.S.C. § 1319(c)(2)(A) stemming from discharges from the
GTSA sewage plant on April 24, 2013, October 17, 2017, December 12, 2017, and
December 12, 2017, respectively. While not addressed explicitly by the United
States Court of Appeals for the Third Circuit, both the Fourth and Fifth Circuit
have persuasively found that the mens rea within Section 1319(c)(2)(A),
“knowingly,” applies to each of above elements of the offense, See United States v.
Wilson, 133 F.3d 251, 264 (4th Cir. 1997); United States v. Ahmad, 101 F.3d 386,
389 (5th Cir. 1997). In United States v. Ahmad, the Fifth Circuit held that “the
phrase ‘knowingly violates’ in Section 1319(c)(2)(A), when referring to other
provisions that define the elements of the offenses Section 1319 creates, should
uniformly require knowledge as to each of those elements rather than only one or
two.” 101 F.3d at 390.

Similarly, the Fourth Circuit, in United States v. Wilson, held that “the Clean
Water Act... requires the government to prove the defendant’s knowledge of facts

meeting each essential element of the substantive offense, ... , but need not prove

 

3 Dismissal should be with prejudice as Count I relates to conduct on April 24, 2013, and the five-

year state of limitations, tolled prior to Indictment pursuant to Tolling Agreements between the parties,
has now since passed. 18 U.S.C. § 3282(a).
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that the defendant knew his conduct to be illegal.” 133 F.3d at 262 (internal
citations omitted). Importantly, the Wilson Court addressed squarely, and
dispelled, the argument advanced by the Government that Mr. Evans is requesting
that it allege that he knew his conduct to be illegal. 133 F.3d at 262 (internal
citations omitted). Speaking to the distinction between knowledge of illegality and
knowledge of the essential facts of the crime, the Wilson Court wrote that:

The ready alternative interpretation is that Congress

intended that the defendant have knowledge of each

of the elements constituting the proscribed conduct

even if he were unaware of their legal significance.

This interpretation would not carry with it the

~ corollary that the defendant's ignorance of his

conduct's illegality provides him a defense, but

would afford a defense for a mistake of fact.
Id. Based on this holding, the Wilson Court observed that “if a defendant thought
he was discharging water when he was in fact discharging gasoline, he would not
be guilty of knowingly violating the act which prohibits the discharge of
pollutants.” /d. (citations omitted).

The Indictment, however, fails to allege this required mens rea. For example,

at Count I, the Indictment fails to allege that Mr. Evans knew or even reasonably
could have known that his discharge of solids and sludge onto the ground and grass

near the treatment plant—clearly not, in themselves waters of the United States—

could constitute a discharge to a receiving stream. Similarly, at Count II, the
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Indictment is silent as to how non-operator Mr. Evans, who is not alleged to have
even been present during an October 17, 2017 routine inspection, knowingly
discharged the listed materials for that date. See Bryan v. United States, 524 US.
184, 193 (1998) (“[T]he term ‘knowingly’ merely requires proof of knowledge of
the facts that constitute the offense.”); see also United States v. West Indies
Transport, Inc., 127 F.3d 299, 310 (3d Cir. 1997) (affirming a district court’s jury
instruction that “[a]n act is done knowingly if done voluntarily and intentionally,
and not because of mistake or accident or other innocent reason” for a count under
33 U.S.C. § 1319(c)(2)(A)).

Finally, the Indictment does not, and cannot, allege that non-operator Mr.
Evans “correctly identified the substance[s]” that were being discharged at Counts
III and IV, and that he knew that said discharges would be a violation of the
carbonaceous biochemical oxygen demand (CBODS), Total Suspended Solids
(TSS), and Fecal Coliform limits in the permit. See Wilson, 133 F.3d at 264
(holding that, in order to establish a felony violation of the Clean Water Act, the
Government must prove that the “defendant correctly identified the substance he
was discharging”); United States v. Atlantic States Cast Iron Pipe Co., No. 03-852,

2007 WL 2282514, at *39 (D.N.J. Aug. 2, 2007)* (noting that, at the time of trial,

 

4 Pursuant to Local Rule 7.8(a), the unpublished decisions cited herein are
reproduced in the attached Appendix.
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the court had “impos[ed] on the government the burden of proving that the
individual defendant knew the fact that the discharge or conduct was in violation of
the authorized limits of the water or air permits.”). Indeed, the Indictment does not
allege how Mr. Evans knew the existence of and limits for “pollutants” alleged to
have been discharged on December 12, 2017.

In its Opposition brief, the Government questions why Mr. Evans involved
himself in the operations of the GTSA sewage plant despite not being certified as a
wastewater operator by the Pennsylvania Department of Environmental Protection.
This argument is a red herring. Mr. Evans did not serve as operator during that
time.> Moreover, Mr. Evans is charged at Counts I through IV with failure to
operate and maintain in violation of a CWA permit and knowing discharge in
violation of same. He is not charged with operation of the facility without a
permit.

Third, and in the event the Court declines to dismiss Counts I through IV on
the basis advanced above, Mr. Evans seeks a bill of particulars on those counts.
The United States Court of Appeals for the Third Circuit has explained that a
motion for a bill of particulars should be granted “whenever an indictment’s failure

to provide factual or legal information significantly impairs the defendant’s ability

 

> The certified operators of the GTSA sewage plant during the relevant time period were Joseph
Sheposh and David Klepadlo.
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to prepare his defense or is likely to lead to prejudicial surprise at trial.” United
States v. Rosa, 891 F.2d 1063, 1066 (3d Cir. 1989). The decision to grant a bill of
particulars “lie[s] within the discretion of the trial court.” United States v.
Armocida, 515 F.2d 49, 54 (3d Cir. 1975),
As noted above, the Government failed in the Indictment to allege (1) at

Count I, that the alleged discharge reached “waters of the United States,” and (2) at
Counts I through IV, that Mr. Evans, as non-operator of the GTSA plant,
knowingly discharged the stated pollutants in violation of an NPDES permit. This
failure to provide factual or legal information “significantly impairs the
defendant’s ability to prepare his defense or is likely to lead to prejudicial surprise
at trial.” United States v. Rosa, 891 F.2d 1063, 1066 (3d Cir. 1989). Mr. Evans
therefore requests that this Court order the prosecution to file a bill of particulars
describing the offenses contained in Counts I through IV. Specifically, for each
alleged offense, the Government should provide:

(a) the navigable “water of the United States” to which the alleged
discharge at Count | reached and any supporting documentation;

(b) how Mr. Evans, as an uncertified non-operator, knew the GTSA
plant had discharged (or on October 17. 2017 was discharging) the materials listed

in Count 2, or, as to Counts 3 and 4, how he knew what the terms and limits for

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CBOD%S, Total Suspended Solids, and fecal coliform limits were in relation to
discharges from the plant; and

(c) how Mr. Evans, as an uncertified non-operator, knew that the
terms of the NPDES permit, including those setting requirements for the handling
of partially treated solids in compliance with the law (Count 1), the presence of the
materials alleged in the outfall at Count 2, and the limits imposed by the permit for
CBODS, Total Suspended Solids, and fecal coliform at Counts 3 and 4, were
violated by these discharges.

(d) how Mr. Evans Sr. knew anything about the NPDES permit
terms.

CONCLUSION
For the reasons stated above, Defendant Bruce Evans Sr. respectfully

requests that the Court grant his motion to dismiss the indictment at Counts I

through IV.

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In the alternative, Mr. Evans respectfully requests that the Government issue

a bill of particulars as outlined above.

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Date: January 15, 2020

TZ

Respectfully submitted,

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Attorney for Defendant,
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CERTIFICATE OF SERVICE
I, Patrick A. Casey, hereby certify that a true and correct copy of the
foregoing Reply Brief in Support of Motion to Dismiss the Indictment or Motion
for a Bill of Particulars was served upon the following counsel of record via the
Court’s ECF system on this 15th day of January, 2020:

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